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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

IN RE:                        )
                              )
HUGH LAWRENCE BROOKS and      )
TAMMIE LATHERES SIMS-BROOKS   )
                              )                         CASE NO. 09-02012-jmc-11
                              )
               Debtors.       )
_____________________________ )
HUGH LAWRENCE BROOKS,         )
                              )                         Adv. Proc. No. 18-50350
               Plaintiff,     )
                              )
                       VS.    )
                              )
AMERICAN EDUCATIONAL          )
SERVICES,                     )
                              )
               Defendant.     )


                          APPEARANCE OF LINDSEY M. TIPTON

TO THE CLERK OF COURT:
         Please record the appearance of Lindsey M. Tipton, of Haller & Colvin, P.C. as
counsel for American Educational Services, Defendant in the above-captioned adversary
proceeding.
                                           Respectfully submitted,

                                           HALLER & COLVIN, P.C.
                                           444 EAST MAIN STREET
                                           FORT WAYNE, INDIANA 46802
                                           TELEPHONE: (260) 426-0444
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                                           EMAIL: ltipton@hallercolvin.com

                                           BY: /s/ Lindsey M. Tipton
                                              LINDSEY M. TIPTON
                                               I.D. #34229-02




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                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and exact copy of the above and
foregoing Appearance of Lindsey M. Tipton has been sent electronically by the Court’s
electronic filing system, 10th day of January, 2019, to:

U.S. Trustee
Eric C Redman


                                                         /s/ Lindsey M. Tipton
                                                         LINDSEY M. TIPTON




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